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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

MDL NO. 2179

IN RE: OTL SPILL by the OIL RIG :

“DEEPWATER HORIZON” in the — : SECTION: J

GULF OF MEXICO, on :

APRIL 20, 2010

JUDGE BARBIER
THIS DOCUMENT RELATES TO: MAG. JUDGE SHUSHAN
1. Bill’s Oyster House v BP et al (C.A. 10-1308)

. Howard Buras v BP et al (C.A.10-2994)
.Arimand’s Bistro vy BP et al (C.A. 10-4489)
. Faye Loupe et al. v BP et al (C.A, 10-2764)
. Laura Gautreaux v BP et al (C.A. 10-1539)
. Brent Rodrigue, Sr. et al. v BP et al (C.A. 10-1325)

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NOTICE OF MOTION

Subject to Pre-Trial Order No. 15, hearing on Plaintiffs’ Motion For Summary

Judgment Against Cameron International may be set by this Court, and is tentatively noticed to

be heard on Wednesday, the 27" day of April, 2011, at 9:30 a.m.

{sf Daniel E. Becnel, Jr.
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Attorneys for Plaintiffs in:

. Bill’s Oyster House v BP et al (C.A. 10-1308)

. Howard Buras v BP et al (C.A,10-2994)

. Armand ’s Bistro v BP et al (C.A. 10-4489)

. Faye Loupe et al. v BP et al (C.A. 10-2764)

5. Laura Gautreaux v BP et al (C.A. 10-1539)

6. Brent Rodrigue, Sr. et al. v BP et al (C.A, 10-1325)

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CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that the above and foregoing Notice of Motion will be served
on All Counsel by electronically uploading the same to Lexis Nexis File & Serve in
accordance with Pretrial Order No. 12, and that the foregoing will be electronically filed
with the Clerk of Court of the United States District Court for the Eastern District of
Louisiana by using the CM/ ECF System, which will send a notice of electronic filing in
accordance with the procedures established in MDL 2179, on this_12th day of__April

2011.

fsf Daniel E. Becnel, Jr.

